 4:13-cr-03086-JMG-CRZ        Doc # 49    Filed: 10/28/13    Page 1 of 1 - Page ID # 54




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:13CR3086
       vs.
                                                                 ORDER
TRENT L. KINGSLEY,
                    Defendant.

       Defendant has moved to continue defendant’s change of plea hearing. (Filing No.
48).   The motion to continue is unopposed. Because the government is not able to
attend the hearing at the currently scheduled date and time, the court finds the motion
should be granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant’s motion to continue, (filing no.48), is granted.

       2)    The defendant's plea hearing will be held before the undersigned magistrate
             judge on November 6, 2012 at 2:00 p.m.. The defendant is ordered to
             appear at this hearing.

       3)    For the reasons stated by counsel in the motion, the Court finds that the
             ends of justice served by continuing defendant's plea hearing outweigh the
             best interest of the defendant and the public in a speedy trial. Accordingly,
             the time between today's date and the district court judge's acceptance or
             rejection of the anticipated plea of guilty shall be excluded for speedy trial
             calculation purposes. 18 U.S.C. § 3161(h)(7).


       October 28, 2013.




                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
